Case 3:16-cv-00237-RCJ-CLB Document1 Filed 05/03/16 Page 1 of 24

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Attorneys for the Plaintiffs

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEVADA

ABEL CANTARO CASTILLO, and those | Civil Case No.
similarly situated,

Plaintiffs, COMPLAINT

Vv.
3:16-cv-00237
WESTERN RANGE ASSOCIATION,
MELCHOR GRAGIRENA; and

EL TEJON SHEEP COMPANY,

Defendants.

Plaintiff Abel Cantaro Castillo was paid a shockingly low wage of as little as one or two
dollars an hour for his work as a shepherd in California and Nevada. This is well below the
minimum wage of $8.25 per hour that Mr. C4ntaro should have been paid under Nevada law and

the minimum of $7.25 per hour he should have been paid pursuant to the Fair Labor Standards

Act (FLSA). oc
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Case 3:16-cv-00237-RCJ-CLB Document 1 Filed 05/03/16 Page 2 of 24

Mr. Cantaro is not alone in suffering either of these violations for the hundreds of hours
of work he has sometimes provided to the ranching industry in a single week. This is because his
employers—Defendants here—have a policy of paying all shepherds they employ a low monthly
wage that has the effect of creating illegally low hourly rates of pay, in light of the actual number
of hours shepherds are working.

This illegal monthly-pay policy manifests in two ways at issue in this case. First,
Defendant Western Range Association (WRA) has a policy of setting the wages of all Nevada
shepherds, including Mr. Cantaro, at a rate of as little as $800 per month, despite the fact that this
translates to an effective wage rate of between one and two dollars an hour—much less than the
Nevada minimum of $8.25 per hour. Defendants El Tejon Sheep Company and Melchor
Gragirena adhered to the same illegal monthly wage policy in acting as Mr. Cantaro’s joint
employers.

Second, in addition to violating Nevada state law, Defendants violated FLSA by paying
Mr. Cantaro and all other shepherds at Defendant Gragirena’s ranch less than the FLSA
minimum wage of $7.25 per hour. To be sure, FLSA contains a narrowly-construed exception
from its minimum wage protections for those principally engaged in herding work at locations so
remote and isolated that it would be difficult for an employer to calculate the number of hours
worked. But the exception cannot apply here because work at El Tejon was not principally
remote: for the majority of the time Mr. Cantaro and all other shepherds worked at El Tejon, they
were performing farming or other non-herding work just off well-trafficked highways and on
cultivated farmland—often under the direct supervision Defendant Gragirena or his foreman.

Given the type of work El Tejon shepherds were performing—and the locations where the work
Case 3:16-cv-00237-RCJ-CLB Document 1 Filed 05/03/16 Page 3 of 24

was performed—the FLSA exception cannot apply and Mr. Cantaro is entitled to the hourly
FLSA minimum wage for the entirety of time he was working as a shepherd.

Mr. Cantaro on his own behalf and those similarly situated seeks damages including the
difference between the right hourly wages Defendants should have paid, and what he was
actually paid under Defendants’ illegal monthly wage policies, statutory and/or liquidated
damages, and attorneys’ fees.

JURISDICTION AND VENUE

1. This Court has jurisdiction over this suit pursuant to 28 U.S.C. § 1331 for the claim
brought under the Fair Labor Standards Act and has supplemental jurisdiction over the state-law
claims under 28 U.S.C. § 1367.

2. In addition and in the alternative, this Court has jurisdiction over the principal class-
action state-law claim against WRA pursuant to 28 U.S.C. § 1332(d) because the matter in
controversy for that claim exceeds the sum or value of $5 million, exclusive of interest and costs,
and at least one member of the plaintiff class is a citizen of a state different from any defendant.
In particular, as described in greater detail below, at least 170 members of the class Mr. Cantaro
seeks to represent were underpaid at least two thousand dollars per month for—at the least—a
period of over three years, for a total of over $12 million in unpaid wages.

3. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial portion of the
events giving rise to Plaintiff's and the classes’ claims to unpaid wages occurred while they were

working as shepherd in or near Elko, Nevada.
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Case 3:16-cv-00237-RCJ-CLB Document1 Filed 05/03/16 Page 4 of 24

PARTIES

4. Plaintiff Abel Cantaro is a former shepherd. He worked as a shepherd in California and
Nevada from around October 2007 until around June 2014.

5. Defendant El Tejon Sheep Co. (“El Tejon”) is a California corporation with its principal
place of business at 5616 Hooper Way, Bakersfield, CA 93308 and is registered to do business in
Nevada as a foreign corporation. Defendant E] Tejon transacts business in Nevada by, among
other things, employing shepherds such as Mr. Cantaro, who spend part of the year grazing sheep
on land outside of cities such as Elko, Nevada.

6. Defendant Melchor Gragirena resides in California and is the owner of El Tejon.
Defendant Gragirena transacts business in Nevada by, among other things, employing shepherds
who spend part of the year grazing sheep on land outside of cities such as Elko, Nevada.

7. Defendant Western Range Association is a California non-profit corporation with its
principal place of business at 161 Fifth Avenue South, Suite 100, Twin Falls, Idaho 83301. WRA
transacts business in Nevada by, among other things, recruiting and employing foreign
shepherds, such as Mr. Cantaro, who work in Nevada.

STATEMENT OF FACTS

Mr. Cantaro’s Work
8. In 2007, a representative of Defendant WRA in Peru first recruited Mr. Cantaro to be a
shepherd in the United States while Mr. Cantaro was living near Huancayo, Peru.
9. The WRA representative made Mr. Cantaro sign a document in which WRA established

many of the conditions under which Mr. Cantaro would work in the United States.
Case 3:16-cv-00237-RCJ-CLB Document1 Filed 05/03/16 Page 5 of 24

10. | The WRA representative directed how Mr. Cantaro should obtain a visa to work in the
United States and required Mr. Cantaro to take a number of trips from Huancayo to Lima, Peru,
to comply with the policies WRA had established for hiring foreign shepherds to work in the
United States. These policies included a WRA-ordered medical exam that was a condition of
employment, a WRA-ordered review of Mr. Cantaro’s criminal records, and a WRA-directed
interview to determine if Mr. Cantaro had the skills necessary to work as a shepherd.

Il. In the United States, Mr. Cantaro worked with one particular WRA ranch, Defendant El
Tejon Sheep Company, which is owned by Defendant Gragirena.

12. Subject to confirmation through discovery, when Mr. Cantaro arrived at El Tejon ranch,
Mr. Cantaro signed another document prepared by Defendant WRA that set additional terms of
employment with which Mr. Cantaro had to comply. One such requirement was that Mr. Cantaro
work at any ranch managed by Defendant WRA and that he agree to be transferred to another
WRA ranch at any time—regardless of whether it was his preference to stay on the ranch to
which he was originally assigned and regardless of whether the individual WRA ranch on which
he worked agreed to the transfer.

13. All or almost all shepherds employed by Defendant WRA are subject to the same
employment policies as those described above because all or almost all WRA shepherds sign the
same or substantially similar employment contracts as a condition of working for Defendant
WRA. Although to be confirmed through discovery, Plaintiff believes the terms of all WRA
employment contracts at issue in this case are similar to those described in Ruiz v. Fernandez,
949 F. Supp. 2d 1055, 1063-71 (E.D. Wash. 2013), where another Court in this Circuit

concluded that Defendant WRA was a joint employer of shepherds such as Mr. Cantaro.
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Case 3:16-cv-00237-RCJ-CLB Document1 Filed 05/03/16 Page 6 of 24

14. Mr. Cantaro worked for Defendants from 2007 until June 2014, generally returning to
Peru for short periods of time every three years but otherwise working as a U.S.-based shepherd.
15. For all of Mr. Cantaro’s time as a shepherd, he generally worked according to the
following schedule, to be confirmed with greater precision through discovery:

a. Veterinary Work:
16. From approximately mid-October until approximately early to mid-April, Mr. Cantaro
worked on well-cultivated farmland—normally alfalfa fields that were surrounded by temporary
electric and regular wire fences that Mr. Cantaro often helped to set up.
17. The land was generally in suburban areas around Bakersfield, California, and normally
within walking distance of three- or four-lane highways. In fact, for some of this period, Mr.
Cantaro appears to have worked just beside the athletic fields at Independence High School, a
school of several thousand in the Kern County school district.
18. All of these locations were easily accessible by Plaintiffs’ employer. And all these work
locations appear to have been a short drive from Defendant Gragirena’s home in suburban
Bakersfield.
19. During a large portion of this time, Mr. Cantaro was effectively a full-time veterinarian as
he managed all aspects of the birthing of thousands of new lambs managed by Defendants. In
addition to the veterinary work, Mr. Cantaro repaired and constructed other structures (such as
fencing and corrals) at El] Tejon ranch.
20. ‘It would have been easy for Defendants to calculate the number of hours Mr. Cantaro
worked because he was laboring in such accessible places, often under Defendants’ direct

supervision or the supervision of foremen employed by Defendants.
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(Case 3:16-cv-00237-RCJ-CLB Document 1 Filed 05/03/16 Page 7 of 24

a. Lamb Fattening Work:
21. From approximately mid-April until approximately early or mid-June, after being
transported to Elko, Nevada, Mr. Cantaro maintained his herd alone on public lands near Elko.
22. During this time, he tried to fatten up the lambs in his charge in preparation for their sale.

a. Sale of Lambs:
23. For an approximately a two-week period in early or mid-June, Mr. Cantaro would
assemble corrals and manage his herd close to the corrals in preparation for the sale of the lambs.
24. During this time, he was under the direct supervision of Defendant Gragirena or a
foreman employed by Defendants.
25. It would not have been difficult to calculate the number of hours that Mr. Cantaro was
working during this period, in light of this direct supervision of his work.

a. Autumn Herding Work:
26. | From approximately mid-June until late September or early October, Mr. Cantaro grazed
his herd alone on public lands near Elko, Nevada. .
27. Fora majority of his time working as a shepherd, Mr. Cantaro was not in isolated
mountain locations herding sheep but rather working on well-cultivated farmland and focused on
non-herding work (e.g., birthing sheep or repairing ranch equipment, such as fences and posts on
the ranch).
28. — It would not have been difficult to calculate the number of hours Mr. Cantaro worked
during most of the year principally because he was working under the direct supervision of one

of his bosses.
Case 3:16-cv-00237-RCJ-CLB Document1 Filed 05/03/16 Page 8 of 24

29. During all of his time as a shepherd, Mr. Cantaro almost never worked less than 70 hours
a week and was often engaged by Defendants to work 24 hours a day seven days a week.

30. All or almost all of the other shepherds working with Mr. Cantaro worked according to
the same or similar schedule as the one described above. Mr. Cantaro knows this because he
would meet the other shepherds at various times during the year: for example, during the time he
was doing veterinary work and during the time when he was preparing the lambs for sale.

31. | Some of the shepherds in fact never left California to work in Nevada. These workers
spent most or all of their time on non-herding work, principally as ranch-hands working at the
headquarter ranch for Defendants.

32. One of the shepherds employed by Defendants does not conduct any shepherding work—
rather, he works as a full-time foreman, supervising the work of the other shepherds and
providing them with supplies.

33. Mr. Cantaro began his last work contract with Defendants in or around late October 2013,
after returning from an approximately three-month stay in Peru. Upon arrival, he again
performed his veterinary work from October 2013 until around early April 2014.

34. Defendants then transported Mr. Cantaro to public lands near Elko, Nevada, in April
2014.

35. During this time, Mr. Cantaro developed a severe infection in a tooth that required
immediate medical attention.

36. | Asaresult, Mr. Cantaro repeatedly requested that Defendant Gragirena or his foreman

provide him with access to medical attention, but neither complied with the request.
Case 3:16-cv-00237-RCJ-CLB Document1 Filed 05/03/16 Page 9 of 24

37. In or about June 2014, Mr. Cantaro feared that if he did not obtain medical attention
immediately, he could be seriously injured or worse. He was also concerned that he would
shortly be required by Defendant Gragirena to travel to a more isolated region where medical
attention would be even more difficult to obtain. He therefore left Mr. Gragirena’s employ and
sought medical attention for his worsening condition.
38. Mr. Cantaro was not paid any wages for approximately the last ten days of his work with
Defendants.

The H-2A Visa Program for Shepherds and Defendants’ Monthly Wage Policy
39. Most shepherds, including Mr. Cantaro, work in the United States under the H-2A
program, which is administered by the Departments of Labor and Homeland Security. The H-2A
program takes its name from the statutory provision, 8 U.S.C. § 1101(a)(15)(H)\(ii)(a), which
describes the visa category for nonimmigrant foreign workers who come to the United States to
perform agricultural work on a temporary or seasonal basis.
40. DOL has implemented special rules regulating H-2A workers in the sheepherding
industry. As part of these special rules, DOL, among other things, sets a wage floor below which
it will not approve H-2A visa applications for shepherds.

41. As relevant here, the DOL-established wage floor for shepherds is as follows: |
Case 3:16-cv-00237-RCJ-CLB Document1 Filed 05/03/16 Page 10 of 24

Wage Floor State Dates
$800 per month Nevada Until November 16, 2015
$1206.31 per month Nevada November 16, 2015-Present
$1422.55 per month California Until June 30, 2014
$1600.34 per month California July 1, 2014-January 1, 2016
$1777.98 per month California January 1, 2016-Present

42. The Nevada state minimum wage controls in the event that it is higher than the DOL set
minimum because there is no preemption.

43. This is enshrined in the DOL regulations. A higher state minimum wage law necessarily
supersedes a lower wage floor set by DOL: by regulation, H-2A employers must agree to pay H-
2A workers at least the DOL wage floor (called the Adverse Effect Wage Rate (AEWR)), the
prevailing wage, the federal or state minimum wage or the agreed-upon collective bargaining
rate—whichever is highest. See 20 C.F.R. § 655.120.

44. As noted above, the problem here is that Defendant WRA has a policy of only paying the
minimum monthly wage established by DOL, regardless of whether there is a higher wage is
required under state or federal law because of the number of hours the shepherds are actually
working or the type of work they are performing.

45. Defendant WRA’s monthly minimum wage policy only varies based on the state in
which a ranch is located. For example, if the ranch on which a shepherd works is located in
California (as is the case with Mr. Cantaro), the wage Defendants pay is the DOL wage-floor for
California. On the other hand, if the ranch is located in Nevada, Defendant WRA has a policy of
paying the Nevada wage floor, which has been as low as $800 per month.

46. The existence of this policy is evident from a review of the Department of Labor’s Fiscal

Year 2014 and 2015 “Disclosure Data,” which is a data set that provides information across a

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Case 3:16-cv-00237-RCJ-CLB Document1 Filed 05/03/16 Page 11 of 24

number of fields about each H-2A Visa Application submitted to the Department of Labor by
Defendants.

47. The data for Fiscal Years 2014 and 2015 cover the period from October 1, 2013 to
September 30, 2015. This is the most recent and comprehensive data set on H-2A certifications.
48. The Disclosure Data is accessible by clicking on the “Disclosure Data” tab available at
http://www. foreignlaborcert.doleta.gov/performancedata.cfm. To access the FY 2014 or 2015
data, download a Microsoft Xcel file available for H-2A workers for Fiscal Year 2014 or 2015
under this tab.

49. The 2014 and 2015 Data reveal that if one filters out all job references for jobs other than
“sheepherder” or a similar job title, the minimum wage offered to all shepherds in Nevada is
uniformly $800 per month.' The wage offered to all California shepherds is uniformly the wage
floor set by DOL for that state for the relevant period of time (i.e., $1422.55, $1600.34, or
$1777.98 per month).

50. Plaintiff Cantaro was offered approximately the wage floor established by DOL.

51. Further, subject to discovery from Defendants, Plaintiff estimates that he was paid

approximately $1422.55 per month—or slightly more than this sum—for every month that he

' At times, DOL has erroneously reported the correct offered wage. This error is evident based
on a review of the underlying H-2A applications associated with each record contained in the
Disclosure Data. One can view this underlying data by matching the ETA case number included
with each record in the disclosure data and reviewing the individual H-2A applications
associated with these numbers. These H-2A records are viewable at https://icert.doleta.gov/,
where one can perform a search by ETA case number. A review of numerous individual H-2A
Applications at this website confirms that Defendants have a policy of uniformly paying the
same monthly minimum wage to shepherds.

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Case 3:16-cv-00237-RCJ-CLB Document1 Filed 05/03/16 Page 12 of 24

worked as a shepherd for Defendants. (Plaintiff will have to determine the exact amount he was
paid through discovery as his employment records are in the possession of Defendants.)
52. Finally, in addition to Defendant WRA adhering to this policy for all the shepherds it has
employed in Nevada, Defendants El Tejon and Gragirena have adhered to this same policy for all
shepherds employed at Defendant Gragirena’s ranch who worked in Nevada.

Nevada Minimum Wage
53. As noted above, Plaintiff worked in Nevada for Defendants from approximately early to
mid-April until October.
54. Plaintiff was paid an illegally low wage for his work in Nevada. Even though he was paid
approximately $1422.55 per month (or slightly more than this sum), he should have been paid
much more than this amount based on the number of hours he worked.
55. | The Nevada minimum wage is established in Section 16 of the Nevada Constitution. This
is an hourly minimum wage that applies regardless of the industry in which the employee is
working. See Thomas v. Nevada Yellow Cab Corp., 327 P. 3d 518 (Nev. 2014).
56. At present, the hourly minimum wage for all employees in Nevada is $7.25 per hour for
workers who are covered by an employer’s medical insurance and $8.25 per hour for workers
who do not have insurance coverage.
57. Plaintiff was not covered by his employers’ medical insurance. Further, upon information
and belief, no foreign shepherds employed by Defendants have been covered by Defendants’
medical insurance.
58. All foreign shepherds, including Mr. Cantaro, are accordingly entitled to an hourly wage

of at least $8.25 per hour.

12
Case 3:16-cv-00237-RCJ-CLB Document1 Filed 05/03/16 Page 13 of 24

59. To be paid only $1422.55 per month, Mr. Cantaro could have worked just under 40 hours
per week. But Mr. Cantaro worked many more hours than this every week: he never worked less
than 70 hours a week and was often engaged by Defendants to work 24 hours a day seven days a
week. Beyond the time he was engaged to wait by the employer (namely, by being ready to
respond to a problem with his flock late at night), he often was actively working in excess of 100
hours per week.
60. Mr. Cantaro’s work was hardly irregular for a shepherd. Most Nevada shepherds work
roughly the same number of hours and according to the same schedule as Mr. Cantaro.
61. All shepherds are accordingly always working in excess of 40 hours of work per week
and are being underpaid for the hourly minimum value of their labor as established in the Nevada
Constitution.

Fair Labor Standards Act
62. Beyond being entitled to the hourly minimum wage for his work in Nevada, Plaintiff is
entitled to the hourly minimum wage guaranteed under FLSA for his work in both California and
Nevada.
63. Defendants are covered by FLSA because, upon information and belief, they are
enterprises with an excess of $500,000 in annual revenues.
64. Plaintiff is also covered by FLSA because his work regularly involves him in commerce
between States or the production of goods for commerce: namely, the sheep that are transported

between states such as Nevada and California.

13
Case 3:16-cv-00237-RCJ-CLB Document1 Filed 05/03/16 Page 14 of 24

65. Defendants are Plaintiff's employers, given the control over work and authority to hire
and fire they exerted over Plaintiff, and their control over the terms of Plaintiff's employment
conditions, as detailed above.

66. Plaintiff is entitled to the minimum wage accorded under FLSA.

67. Further, because his work was generally not remote and generally focused on non-
herding work, Mr. Cantaro does not fit within the “range production of livestock” exception to
the FLSA minimum wage. See 29 U.S.C. § 213(a)(6)(E).

68. This range exception is designed for work that is in isolated and mountainous locales
where the terrain is rugged, the forage is naturally growing, and the inaccessibility of the work
site makes it difficult for an employer to calculate the exact number of hours worked. See 29
C.F.R. § 780.323, et seq.

69. A majority of Mr. Cantaro’s work—especially in his last period of work from October
2013 until June 2014—does not fit within what is contemplated by the exception. Rather, for a
majority of his time as a shepherd, Mr. Cantaro: (1) was working on land under the direct
supervision of one of his employers, and those employers could easily have calculated the time
he was working; (2) was working generally on cultivated alfalfa fields in suburban Bakersfield;
and (3) was working not far from his employer—indeed, much of the time he was working in the
same city as his employer’s ranch and his home.

70. Accordingly, even though Mr. Cantaro performed some work that might fit within the
FLSA exception, most of his work does not fall within what is required for the exception to
apply and he is entitled to the FLSA minimum wage given that the majority of his work falls

outside the exception.

14
Case 3:16-cv-00237-RCJ-CLB Document1 Filed 05/03/16 Page 15 of 24

RULE 23 CLASS ALLEGATIONS
Nevada Wage Class
71. Plaintiff Cantaro asserts Count I against Defendant WRA as a Class Action pursuant to
Federal Rule of Civil Procedure 23.
72. He brings this claim on behalf of the “NV Minimum Wage Class,” which, pending any
modifications necessitated by discovery, is defined as follows:
ALL PERSONS WHOM WRA EMPLOYED AS SHEPHERDS

IN NEVADA DURING THE RELEVANT STATUTE OF
LIMITATIONS.

73. | The members of the putative class are so numerous that joinder of all potential class
members is impracticable. Plaintiff Cantaro does not know the exact size of the class since that
information is within the control of WRA. However, according to publicly available data from
the Department of Labor (namely, the aforementioned “Disclosure Data”), Defendant WRA
employed approximately 180 shepherds in Nevada in fiscal years 2014 and 2015. Plaintiff has no
reason to believe that WRA employed a substantially different number of shepherds in Nevada in
any of the other years within the relevant statute of limitations.

74. There are questions of law or fact common to the classes that predominate over any
individual issues that might exist—namely, whether the WRA failed to pay Nevada shepherds at
least Nevada minimum wage by instead adhering to their policy of paying the monthly wage
floor established by DOL.

75. The class claims asserted by Mr. Cantaro are typical of the claims of all of the potential
Class Members because all potential Class Members allege they were paid less than the Nevada

minimum wage by Defendants.

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Case 3:16-cv-00237-RCJ-CLB Document1 Filed 05/03/16 Page 16 of 24

76.  Acclass action is superior to other available methods for the fair and efficient adjudication
of this controversy because numerous identical lawsuits alleging similar or identical causes of
action would not serve the interests of judicial economy.

77. Mr. Cantaro will fairly and adequately protect and represent the interests of the class.

78. Mr. Cantaro also suffered from the same illegally low wage as the class.

79. Mr. Cantaro is represented by counsel experienced in litigation on behalf of low-wage
workers and in class actions.

80. The prosecution of separate actions by the individual potential Class Members would
create a risk of inconsistent or varying adjudications with respect to individual potential Class
Members that would establish incompatible standards of conduct for Defendant WRA.

81. | Mr. Cantaro is unaware of any members of the putative class who are interested in
presenting their claims in a separate action, though he is aware of a separate class action based
on Nevada law against another employer of shepherds: Mountain Plains Agricultural Service.
See Llacua et al v. Western Range Association et al., 1:15-cv-01889-REB-CBS (D. Colo. 2015).
This other case contains no Nevada-based wage claims against Defendants named here.

82. Mr. Cantaro is unaware of any pending litigation commenced by members of the Class
concerning the instant controversies.

83. It is desirable to concentrate this litigation in this forum because many of the Defendants
and Plaintiffs are located in, or do business in, Nevada and shepherds operate exclusively in the

western United States.

16
Case 3:16-cv-00237-RCJ-CLB Document1 Filed 05/03/16 Page 17 of 24

84. This class action will not be difficult to manage due to the uniformity of claims among
the Class Members and the susceptibility of the claims to class litigation and the use of
representative testimony and representative documentary evidence.
85. | The contours of the class will be easily defined by reference to Defendants’ records and
government records.
El Tejon Wage Class

86. _ Plaintiff Cantaro asserts Count II against Defendants Gragirena and El Tejon as a Class
Action pursuant to Federal Rule of Civil Procedure 23.
87. Pending any modifications necessitated by discovery, Plaintiff defines the “El Tejon NV
Minimum Wage Sub-Class” as follows:

ALL PERSONS WHOM DEFENDANTS EL TEJON AND

GRAGIRENA EMPLOYED AS SHEPHERDS IN NEVADA
DURING THE RELEVANT STATUTE OF LIMITATIONS.

88. | The members of the putative class are so numerous that joinder of all potential class
members is impracticable. Plaintiff Cantaro does not know the exact size of the class since that
information is within the control of the Defendants. However, according to publicly available
data from the Department of Labor (namely, the aforementioned “Disclosure Data”), Defendants
El Tejon and Gragirena employed an average of nine shepherds per year for a total of at least
around thirty shepherds for the relevant statute of limitations.

89. There are questions of law or fact common to the class that predominate over any
individual issues that might exist—namely, whether Defendants El Tejon and Gragirena failed to
pay Nevada shepherds at least Nevada minimum wage by instead adhering to their policy of

paying the monthly wage floor established by DOL.
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Case 3:16-cv-00237-RCJ-CLB Document 1 Filed 05/03/16 Page 18 of 24

90.  Theclass claims asserted by Mr. Cantaro are typical of the claims of all of the potential
Class Members because all potential Class Members allege they were paid less than the Nevada
minimum wage by Defendants El Tejon and Gragirena. A class action is superior to other
available methods for the fair and efficient adjudication of this controversy because numerous
identical lawsuits alleging similar or identical causes of action would not serve the interests of
judicial economy.

91. Mr. Cantaro will fairly and adequately protect and represent the interests of the class.

92. | Mr. Cantaro also suffered from the same illegally low wage as the class.

93. | Mr. Cantaro is represented by counsel experienced in litigation on behalf of low-wage
workers and in class actions.

94. The prosecution of separate actions by the individual potential Class Members would
create a risk of inconsistent or varying adjudications with respect to individual potential Class
Members that would establish incompatible standards of conduct for Defendant WRA.

95. | Mr. Cantaro is unaware of any members of the putative class who are interested in
presenting their claims in a separate action, though he is aware of a separate class action based
on Nevada law against another employer of shepherds: Mountain Plains Agricultural Service.
See Llacua et al v. Western Range Association et al., 1:15-cv-01889-REB-CBS (D. Colo. 2015).
This other case contains no FLSA or Nevada-based wage claims against Defendants named here.
96. Mr. Cantaro is unaware of any pending litigation commenced by members of the class

concerning the instant controversies.

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Case 3:16-cv-00237-RCJ-CLB Document 1 Filed 05/03/16 Page 19 of 24

97. It is desirable to concentrate this litigation in this forum because many of the Defendants
and Plaintiffs are located in, or do business in, Nevada and shepherds operate exclusively in the
western United States.

98. This class action will not be difficult to manage due to the uniformity of claims among
the Class Members and the susceptibility of the claims to class litigation and the use of
representative testimony and representative documentary evidence.

99. The contours of the class will be easily defined by reference to Defendants’ records and

government records.

29 U.S.C. § 216(B) COLLECTIVE ACTION ALLEGATIONS
100. Mr. Cantaro brings his FLSA claim as a collective action pursuant to 29 U.S.C. § 216(b)

on behalf of himself and all other similarly situated current and former employees of Defendants.

101. Pending any modifications necessitated by discovery, Mr. Cantaro preliminarily defines
the “216(b) Class” as follows:

ALL CURRENT AND FORMER EMPLOYEES OF THE

DEFENDANTS WHO WORKED ON DEFENDANT EL TEJON

RANCH AND/OR FOR DEFENDANT GRAGIRENA AS
SHEPHERDS.

102. All potential FLSA Class Members are similarly situated because, among other things,
they were all employees of these Defendants and, upon information and belief, all suffered from
the same policies of these Defendants, including the failure to pay at least the minimum hourly
wage required under FLSA.

I. FIRST COUNT: SECTION 16 OF THE NEVADA CONSTITUTION

(Plaintiff Cantaro and the NV Minimum Wage Class Against Defendant WRA)

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Case 3:16-cv-00237-RCJ-CLB Document1 Filed 05/03/16 Page 20 of 24

103. As noted above, Plaintiff Cantaro asserts this count on his own behalf and on behalf of
the NV Minimum Wage Class pursuant to Fed. R. Civ. P. 23.

104. WRA employed Plaintiff Cantaro and the NV Minimum Wage Class in Nevada during
the relevant statute of limitations and paid him less than the Nevada minimum wage—Plaintiff
Cantaro was usually paid only $1422 per month or $2-3 per hour of work. Many fellow WRA
employees were paid even less—as little as $800 per month—for the same number of hours of
work.

105. As aresult, the Plaintiffs are entitled to the difference between the wages paid and the
Nevada minimum wage and attorneys’ fees pursuant to Nev. Const. art. 15, § 16.

106. Although not necessary to obtain fees under the Nevada Constitution, Plaintiff Cantaro
sent a written demand for wages at least five days prior to bringing this claim and is entitled to
attorney’s fees if he prevails in this action.

Il. SECOND COUNT: SECTION 16 OF THE NEVADA CONSTITUTION

(Plaintiff Cantaro and the El Tejon Minimum Wage Class Against Defendants El Tejon
and Gragirena)

107. As noted above, Plaintiff Cantaro asserts this count on his own behalf and on behalf of
the E! Tejon Minimum Wage Class pursuant to Fed. R. Civ. P. 23.

108. Defendants El Tejon and Gragirena employed Plaintiff Cantaro and the NV Minimum
Wage Class in Nevada during the relevant statute of limitations and paid him less than the
Nevada minimum wage—Plaintiff Cantaro was usually paid-only $1422 per month or $2-3 per
hour of work at some times.

109. Asaresult, the Plaintiffs are entitled to the difference between the wages paid and the

Nevada minimum wage and attorneys’ fees pursuant to Nev. Const. art. 15, § 16.

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Case 3:16-cv-00237-RCJ-CLB Document 1 Filed 05/03/16 Page 21 of 24

110. Although not necessary to obtain fees under the Nevada Constitution, Plaintiff Cantaro
sent a written demand for wages at least five days prior to bringing this claim and is entitled to
attorney’s fees if he prevails in this action.

Ill. THIRD COUNT: FAIR LABOR STANDARDS ACT

(Plaintiff Cantaro Against All Defendants)
Ill. As noted above, Mr. Cantaro asserts this count on his own behalf and on behalf of all
other similarly situated employees pursuant to 29 U.S.C. § 216(b).
112. Mr. Cantaro and those similarly situated were engaged in the production of goods for
commerce pursuant to 29 U.S.C. § 203(b) and 29 U.S.C. § 206(a) because they assisted in raising
sheep that moved, or could reasonably be expected to move, in interstate commerce.
113. Mr. Cantaro and all others similarly situated were “employees” as that term is defined by
29 U.S.C § 203 (e) because each entered into an employment contract with Defendants, and each
Defendant had the ability to exert significant control over Mr. Cantaro and all other Defendants,
including by directing him to work in different states and on different WRA ranches, controlling
the terms and conditions of his employment, and having the authority to hire and fire him.
114. Defendants “employed” Mr. Cantaro and all others similarly situated as that term is
defined by 29 U.S.C. § 203(g) because each was suffered or permitted to work by the
Defendants.
115. Defendant Gragirena and WRA employed Plaintiff and the similarly situated members of
the § 216(b) Class pursuant to FLSA 29 U.S.C. § 203(d) because they acted directly or indirectly
in the interest of El Tejon in relation to Mr. Cantaro and the members of the 216(b) Class by,

among other things, controlling when, where, and how they worked; maintaining their

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Case 3:16-cv-00237-RCJ-CLB Document1 Filed 05/03/16 Page 22 of 24

employment records; setting the terms of their employment; and having the power to hire and
fire them.
116. Defendants violated FLSA when they failed to pay Mr. Cantaro and all others similarly
situated at least minimum wage for some of the hours they worked. 29 U.S.C. § 206.
117. Defendants’ violations of FLSA were willful under 29 U.S.C. § 255(a) because they
knew or should have known that Mr. Cantaro and all others similarly situated were entitled to
minimum wage under FLSA, and/or, upon information and belief, they failed to make adequate
inquiry regarding whether the Plaintiff and others similarly situated were covered by FLSA.
118. Mr. Cantaro and all others similarly situated are entitled to recover unpaid minimum
wages, liquidated damages, attorneys’ fees, costs, and post-judgment interest. 29 U.S.C. §§ 206;
216(b).

PLAINTIFFS DEMAND A JURY TRIAL

PRAYER FOR RELIEF

119. Plaintiff respectfully requests that judgment be entered in his favor and in favor of those
similarly situated and that this Court:
a. Declare Defendants in violation of each of the counts set forth above;
b. Certify and maintain this action as a class action, with Plaintiff Cantaro as
designated class representative and with his counsel appointed as class counsel;
c. Award damages for Defendants’ failure to pay the Nevada minimum wage;
d. Award damages for Defendants’ failure to pay the minimum wage under FLSA

and award liquidated damages pursuant to 29 U.S.C. §216(b);

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Case 3:16-cv-00237-RCJ-CLB Document1 Filed 05/03/16 Page 23 of 24

j.

Award pre-judgment, post-judgment, and statutory interest, as permitted by
law;

Award attorneys’ fees;

Award costs;

Order equitable relief, including a judicial determination of the rights and
responsibilities of the parties;

Certify the FLSA claims against Defendants to proceed as a collective action
under 29 U.S.C § 216(b), and provide that appropriate notice of this suit and
the opportunity to opt into it be provided to all potential members of the
216(b) Class

Award such other and further relief as the Court may deem just and proper.

Respectfully submitted,

s/Alexander Hood

Alexander Hood

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Case 3:16-cv-00237-RCJ-CLB Document 1 Filed 05/03/16 Page 24 of 24

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24
